Case 2:21-bk-16674-ER           Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47        Desc
                                 Main Document    Page 1 of 32



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 7 Proposed Attorneys for Jinzheng Group (USA)
   LLC
 8
                            UNITED STATES BANKRUPTCY COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                    LOS ANGELES DIVISION
11

12
     In re                                             Case No. 2:21-bk-16674-ER
13
     JINZHENG GROUP (USA) LLC,                         Chapter 11
14
                       Debtor and Debtor in            NOTICE OF APPLICATION AND
15                     Possession.                     MOTION; APPLICATION OF DEBTOR
                                                       AND DEBTOR-IN-POSSESSION TO
16                                                     EMPLOY DANNING, GILL, ISRAEL &
                                                       KRASNOFF, LLP AS ITS GENERAL
17                                                     BANKRUPTCY COUNSEL; MOTION TO
                                                       APPROVE DEBTOR-IN-POSSESSION
18                                                     FINANCING; AND STATEMENT OF
                                                       DISINTERESTEDNESS
19
                                                       Date:   June 22, 2022
20                                                     Time:   10:00 a.m.
                                                       Crtrm.: Courtroom 1568
21                                                             255 E. Temple Street
                                                               Los Angeles, California 90012
22

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     1683817.3 27086                               1
Case 2:21-bk-16674-ER                 Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                                            Desc
                                       Main Document    Page 2 of 32



 1                                                     TABLE OF CONTENTS
 2                                                                                                                                          Page
 3 MEMORANDUM OF POINTS AND AUTHORITIES .....................................................................7

 4            A.        Bankruptcy Background ..............................................................................................7

 5            B.        The Debtor’s Former Counsel .....................................................................................7

 6            C.        Procedural Status .........................................................................................................7

 7 II.        APPLICATION FOR EMPLOYMENT..................................................................................8

 8            A.        The Proposed Retention of General Bankruptcy Counsel; Danning, Gill,
                        Israel & Krasnoff, LLP ................................................................................................8
 9
              B.        Retainer, Procedures for Future Payments ................................................................10
10
              C.        Disinterestedness of Danning Gill .............................................................................11
11
     III.     DEBTOR-IN-POSSESSION FINANCING ..........................................................................12
12
              A.        The Principal’s Loan..................................................................................................12
13
              B.        The Debtor Should be Authorized to Obtain Unsecured Credit from the
14                      Principal Pursuant to § 364 ........................................................................................12

15 IV.        CONCLUSION......................................................................................................................13

16 STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT OF PROFESSIONAL
        PERSON UNDER F.R.B.P. 2014 .........................................................................................14
17
   DECLARATION OF ZHAO PU YANG ..........................................................................................16
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     1683817.3 27086                                                      i
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                Desc
                                Main Document    Page 3 of 32



 1            TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY

 2 JUDGE, AND INTERESTED PARTIES:

 3            PLEASE TAKE NOTICE that Jinzheng Group (USA) LLC (the “Debtor”), hereby (1)

 4 applies for entry of an order under 11 U.S.C. § 327(a) authorizing the Debtor to employ Danning,

 5 Gill, Israel & Krasnoff, LLP (“Danning Gill” or the “Firm” ) as its general bankruptcy counsel,

 6 effective as of May 31, 2022, and (2) moves for an order authorizing the Debtor to obtain an

 7 unsecured loan from the Debtor’s principal in the amount of the $100,000 loan to be paid to

 8 Danning Gill as a postpetition retainer (“Retainer”), which loan shall be repaid as a chapter 11

 9 expense of administration which will be subordinated to other allowed chapter 11 expenses of

10 administration (the “Motion”).

11            To summarize, this motion seeks the following relief:

12                                                        I.
13                                 APPLICATION FOR EMPLOYMENT
14            In compliance with Local Bankruptcy Rule (“LBR”) 2014-1(b)(3), the Debtor hereby

15 provides the following information regarding the application for employment:

16 A.         Identity of professional and the purpose and scope for which it is being employed
17            The Debtor seeks to employ Danning Gill as its general bankruptcy counsel. A copy of the

18            Firm’s resume is attached as Exhibit “1.”

19 B.         Whether professional seeks compensation pursuant to 11 U.S.C. § 328 or 11 U.S.C. § 330
20            The Debtor seeks to employ Danning Gill pursuant to 11 U.S.C. § 327. Danning Gill will

21 seek approval of its compensation and reimbursement of its expenses pursuant to 11 U.S.C. §§ 330

22 and 331.

23 C.         Arrangements for Compensation
24            Danning Gill will charge for its services at an hourly rate measured in increments of tenths

25 of an hour. It will also seek reimbursement of its expenses. Schedules of the Firm’s current hourly

26 rates and current rates of reimbursement are attached as Exhibit “2” hereto. By agreement with the

27 Debtor, the Firm will charge the Debtor at 90% of its standard hourly rates. The Firm’s rates may

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     1683817.3 27086                                      2
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47               Desc
                                Main Document    Page 4 of 32



 1 change from time to time in the future; the Firm keeps a schedule of its current rates on file with

 2 the Office of the United States Trustee.

 3            On or about May 31, 2022 (the “Effective Date”), the Debtor engaged the Firm to substitute

 4 into the case as its general bankruptcy counsel in the above-referenced bankruptcy case. Since the

 5 Effective Date, Danning Gill has provided legal services relating to the Debtor’s bankruptcy case.

 6 The Firm has or will received a retainer of $100,000 as an advance against fees and costs to be

 7 incurred by the Firm in the course of their representation of the Debtor (the “Retainer”). The

 8 Retainer is being provided as a loan to the Debtor from Zhao Pu Yang, as legal representative of

 9 Jianqing Yang, the managing member of the Debtor (collectively, the “Principal”). The terms of

10 such loan are discussed below in the section addressing the Debtor’s request for approval of debtor

11 in possession financing. The Debtor proposes to compensate Danning Gill on the following basis,

12 except as the Court may otherwise determine and direct, after appropriate notice and hearing:

13            First, with respect to the Retainer, Danning Gill will draw down on the Retainer in

14 accordance with the Guide to Applications for Retainers, and Professionals and Insider

15 Compensation (“Fee Guide”), promulgated by the Office of the United States Trustee, except that

16 the Retainer will be maintained in the Firm’s attorney-client trust account rather than a segregated

17 trust account. Danning Gill will submit a monthly Professional Fee Statement each month until the

18 Retainer is exhausted.

19            Second, Danning Gill will apply to the Court under §§ 330 and 331 of the Bankruptcy Code

20 for an allowance of fees and reimbursable expenses not more often than every 120 days. All

21 applications of Danning Gill for compensation will be heard upon notice to creditors and other

22 parties-in-interest. Danning Gill will accept such fees and reimbursement for expenses as may be

23 awarded by the Court. Danning Gill expects that its compensation will be based upon a

24 combination of factors including, without limitation, its customary fees charged to clients who pay

25 Danning Gill monthly, as those fees are adjusted from time to time, the experience and reputation

26 of counsel, the time expended, the results achieved, the novelty and difficulty of the tasks

27 undertaken (including applicable time limitations) and the preclusion from other employment

28 caused by its work in this bankruptcy case.

     1683817.3 27086                                    3
Case 2:21-bk-16674-ER                  Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47       Desc
                                        Main Document    Page 5 of 32



 1            The attorneys at Danning Gill who will be principally responsible for performing the legal

 2 services on behalf of the Debtor are Zev Shechtman, John N. Tedford, IV, and Alphamorlai “Mo”

 3 Kebeh. However, Danning Gill has several additional attorneys, all of whom are experienced in

 4 debtor/creditor matters including, among other things, the representation of debtors, creditors,

 5 bankruptcy trustees and various other interested parties who appear in bankruptcy cases.

 6 Depending upon the complexity and amount of legal services required in this case, other attorneys

 7 at Danning Gill may be called upon to provide legal services.

 8            As mentioned above, the Principal will be the source of the Retainer. The source of future

 9 payments to the Firm after the Retainer has been exhausted will be the Debtor’s estate.

10 D.         Name, address and telephone number of person who will provide a copy of the Application
11            A copy of the application is appended hereto. Requests for copies may be made via email

12 to Debtor’s proposed counsel, Attn.: Zev Shechtman at Danning, Gill, Israel & Krasnoff, LLP, at

13 Email: ZS@DanningGill.com. The address for Debtor’s proposed counsel is Danning, Gill, Israel

14 & Krasnoff, LLP, Attn.: Zev Shechtman, 1901 Avenue of the Stars, Suite 450, Los Angeles,

15 California 90067 and the telephone number is (310) 277-0077.

16                                                          II.
17                                      DEBTOR-IN-POSSESSION FINANCING
18            The Debtor’s request to obtain unsecured credit is based on the grounds that the Debtor

19 does not possess sufficient funds and cash flow to retain Danning Gill as its general bankruptcy

20 counsel. The Principal is loaning the Debtor $100,000, without interest, for the purposes of

21 retaining Danning Gill (the “Loan”). Accordingly, the Debtor seeks authority from the Court to

22 accept the Loan on the following terms:

23                       Material Term or             Summary of        Location in Loan
                         Type of Provision            Provision(s)      Agreement and/or
24                                                                      Loan Documents
25                     Loan amount               $100,000                      N/A
26                     Interest rate             0%                            N/A
27

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     1683817.3 27086                                        4
Case 2:21-bk-16674-ER              Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47           Desc
                                    Main Document    Page 6 of 32



 1                      Material Term or              Summary of           Location in Loan
                        Type of Provision             Provision(s)         Agreement and/or
 2                                                                         Loan Documents
 3                     Maturity date            Treated with the same            N/A
                                                priority as a chapter 11
 4                                              administrative expense,
                                                but subordinated to all
 5                                              other allowed chapter
                                                11 administrative
 6                                              expenses.
 7                     Events of default        N/A                              N/A
 8                     Prepayment penalty       N/A                              N/A
 9                     Loan fees                N/A                              N/A
10                     Grant of lien on         N/A                              N/A
                       property of the estate
11                     under § 364(c) or (d)
12                     Provision of adequate    N/A                              N/A
                       protection or priority
13                     of a claim that arose
                       prepetition
14
                       Validity of a claim or   N/A                              N/A
15                     lien that arose
                       prepetition
16
                       Waiver or                N/A                              N/A
17                     modification of Code
                       provisions or
18                     applicable rules
                       relating to the
19                     automatic stay
20                     Release, waiver or       N/A                              N/A
                       limitation on any
21                     claim or other cause
                       of action belonging to
22                     the estate
23

24            In accordance with Local Bankruptcy Rule 4001-2, a separate Statement Regarding Cash
25 Collateral or Debtor in Possession Financing is being filed concurrently herewith.

26            First, Zhao Pu Yang, as legal representative of Jianqing Yang, the managing member of the
27 Debtor (collectively, the “Principal”). shall transfer $100,000 to the Firm’s attorney-client trust

28 account on or about June 1, 2022.

     1683817.3 27086                                        5
Case 2:21-bk-16674-ER         Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                 Desc
                               Main Document    Page 7 of 32



 1            This motion is based upon this notice of motion and motion, the Memorandum of Points

 2 and Authorities and Declaration of Jianqing Yang appended hereto, the Statement Regarding Cash

 3 Collateral or Debtor in Possession Financing filed pursuant to Local Bankruptcy Rule 4001-2(a),

 4 and such other evidence as may be presented to the Court.

 5            PLEASE TAKE FURTHER NOTICE that the Court will set a deadline for parties to
 6 object to the relief sought. If the Court sets a deadline for written oppositions, any party seeking to

 7 object to the relief sought must, not later than that date file a written opposition with the Clerk of

 8 the Court and serve copies of the opposition upon the Debtor’s counsel and upon the Office of the

 9 United States Trustee, 915 Wilshire Blvd., Suite 1850, Los Angeles, California 90017. Failure to

10 file and serve oppositions as set forth above may be deemed consent to the relief sought in the

11 motion. If you do not have any objection to the motion, you need not take any further action.

12

13 DATED: June 1, 2022                          DANNING, GILL, ISRAEL & KRASNOFF, LLP

14

15
                                                By:          /s/ Zev Shechtman
16                                                    ZEV SHECHTMAN
                                                      Proposed Attorneys for Jinzheng Group (USA)
17                                                    LLC
18

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     1683817.3 27086                                   6
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                 Desc
                                Main Document    Page 8 of 32



 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2
                                                        I.
 3
                                          FACTUAL STATEMENT
 4

 5
     A.       Bankruptcy Background
 6
              On August 24, 2021 (the “Petition Date”), Jinzheng Group (USA) LLC (the “Debtor”), filed
 7
     a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor continues in
 8
     possession of its property and is operating and managing its business as a debtor in possession
 9
     pursuant to the provisions of 11 U.S.C. §§ 1107(a) and 1108. No trustee or examiner has been
10
     appointed in the Debtor’s Chapter 11 Case.
11

12
     B.       The Debtor’s Former Counsel
13
              From the Petition Date until on or about December 6, 2021, the Debtor was represented by
14
     the Law Offices of Donna Bullock (“Original Counsel”). On or about December 6, 2021, the
15
     Debtor filed its Substitution of Attorney (doc. no. 48), substituting Original Counsel with Shioda,
16
     Langley & Chang, LLP as its new general bankruptcy counsel (“Current Counsel”). Now, the
17
     Debtor seeks to substitute Current Counsel with Danning, Gill, Israel & Krasnoff, LLP (“Danning
18
     Gill” or the “Firm” ) as its general bankruptcy counsel, effective as of May 31, 2022.
19

20
     C.       Procedural Status
21
              A continued hearing is currently set to be held on July 6, 2022 with respect to the
22
     Committee’s motion to appoint a chapter 11 trustee. A continued hearing on the disclosure
23
     statement and plan filed by the Debtor is also set for July 6, 2022.
24
              Two state court lawsuits have been removed to this Bankruptcy Court, and are pending as
25
     adversary proceedings, one against Testa et al., Adv No. 2:22-ap-01088-ER, and the other against
26
     Betula Lenta, Inc. et al., Adv No. 2:22-ap-01090-ER. There is also a pending contested matter
27
     pending with respect to the Debtor’s objection to the Betula Lenta, Inc. proof of claim.
28

     1683817.3 27086                                    7
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                  Desc
                                Main Document    Page 9 of 32



 1            The Debtor has obtained orders for several Rule 2004 examinations of parties in this case

 2 (doc. nos. 60, 72, 73).

 3                                                      II.
 4                                 APPLICATION FOR EMPLOYMENT
 5 A.         The Proposed Retention of General Bankruptcy Counsel; Danning, Gill, Israel &
 6            Krasnoff, LLP
 7            The Debtor requires general bankruptcy counsel to advise it generally concerning the

 8 administration of the bankruptcy estate and to aid the Debtor in the prosecution of this chapter 11

 9 case. The Debtor has determined, in its business judgment, that it is appropriate to substitute in

10 Danning Gill as its new general bankruptcy counsel. Among other things, the Debtor requires

11 counsel to:

12                     a.    advise and assist the Debtor with respect to chapter 11 case requirements,

13 among other requirements, and to help the Debtors stay in compliance with the Bankruptcy Code,

14 the Federal Rules of Bankruptcy Procedure, the Court’s Local Bankruptcy Rules, and the

15 Guidelines of the United States Trustee;

16                     b.    advise and assist the Debtor regarding the legal issues relating to the sale of

17 certain assets, and assignment of certain liabilities, including the negotiation and preparation of any

18 asset purchase agreement relating to the same, and obtaining the Court’s approval of any

19 agreement, subject to overbids;

20                     c.    otherwise advise regarding the sale, use or lease of estate property and any

21 financing;

22                     d.    assist the Debtor in the formulation, confirmation and implementation of a

23 chapter 11 plan;

24                     e.    advise the Debtor with respect to any pending nonbankruptcy actions, to

25 address attendant creditor claims in the bankruptcy case, and to confer with the Debtor’s

26 nonbankruptcy counsel, or any special litigation counsel, therein as appropriate, and assist special

27 litigation counsel who may be employed to handle any adversary proceeding;

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     1683817.3 27086                                     8
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                 Desc
                               Main Document     Page 10 of 32



 1                     f.    assist the Debtor in identifying, analyzing, protecting and/or obtaining

 2 possession of property of the estate, including, if appropriate, seeking the turnover of property of

 3 the estate;

 4                     g.    assist the Debtor with the abandonment or other disposition of property of

 5 the estate;

 6                     h.    review and pursue avoidable transfers, if any;

 7                     i.    analyze and review the validity of claims of alleged creditors and, if

 8 appropriate, object to those claims;

 9                     j.    assist with the employment and compensation processes for professionals;

10                     k.    analyze the validity of all administrative expenses and, if appropriate, object

11 to those expenses;

12                     l.    assist the Debtor with the settlement and compromise of claims by or against

13 the estate, or pertaining to matters relating to this case;

14                     m.    coordinate with the other professionals employed by the Debtor, if any;

15                     n.    communicate with other parties in interest including the U.S. Trustee and the

16 Committee; and

17                     o.    perform other general legal services to expeditiously administer the estate.

18            The Debtor proposes to retain Danning Gill, as its general bankruptcy counsel, effective as

19 of May 31, 2022. Danning Gill is experienced in debtor/creditor matters including, among other

20 things, the representation of debtors, creditors, bankruptcy trustees and various interested parties

21 who appear in bankruptcy cases. Danning Gill is competent to perform the requisite legal services

22 in this bankruptcy case. Danning Gill’s breadth of experience and length of service in the legal

23 community is described in its firm resume, a copy of which is attached as Exhibit “1” to the

24 Statement of Disinterestedness, filed with this motion and incorporated herein.

25            The lawyers affiliated with Danning Gill have practiced in bankruptcy courts for many

26 years. Danning Gill has handled virtually every type of matter arising in the context of a

27 bankruptcy case. Danning Gill has been retained as attorneys for debtors, creditors trustees, and

28 other parties in interest in thousands of different bankruptcy cases. Danning Gill and all the

     1683817.3 27086                                    9
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                Desc
                               Main Document     Page 11 of 32



 1 lawyers affiliated with it who will work on this bankruptcy case are familiar with the Bankruptcy

 2 Code, Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules. Danning Gill will

 3 comply with the Bankruptcy Code and all applicable Rules in this bankruptcy case.

 4

 5 B.         Retainer, Procedures for Future Payments
 6            The Firm requires the Retainer of $100,000 as an advance against fees and costs to be

 7 incurred by the Firm in the course of their representation of the Debtor. The Retainer has or will be

 8 provided by Zhao Pu Yang, as legal representative of Jianqing Yang, the managing member of the

 9 Debtor (collectively, the “Principal”), subject to the Court’s approval of the relief requested in this

10 motion. Danning Gill will draw down on the Retainer in accordance with the Guide to

11 Applications for Retainers, and Professionals and Insider Compensation (“Fee Guide”),

12 promulgated by the Office of the United States Trustee, except that the retainer will be maintained

13 in the Firm’s attorney-client trust account rather than a segregated trust account.

14            Danning Gill will charge for its services at an hourly rate measured in increments of tenths

15 of an hour. It will also seek reimbursement of its expenses. Schedules of the Firm’s current hourly

16 rates and current rates of reimbursement are attached as Exhibit “2” hereto. The Firm will charge

17 the Debtor at 90% of its standard hourly rates. The Firm’s rates may change from time to time in

18 the future; the Firm keeps a schedule of its current rates on file with the Office of the United States

19 Trustee.

20            The Debtor proposes to compensate Danning Gill on the following basis, except as the

21 Court may otherwise determine and direct, after appropriate notice and hearing: Danning Gill will

22 apply to the Court under §§ 330 and 331 of the Bankruptcy Code for an allowance of fees and

23 reimbursable expenses not more often than every 120 days. All applications of Danning Gill for

24 compensation will be heard upon notice to creditors and other parties-in-interest. Danning Gill will

25 accept such fees and reimbursement for expenses as may be awarded by the Court. Danning Gill

26 expects that its compensation will be based upon a combination of factors including, without

27 limitation, its customary fees charged to clients who pay Danning Gill monthly, as those fees are

28 adjusted from time to time, the experience and reputation of counsel, the time expended, the results

     1683817.3 27086                                   10
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                  Desc
                               Main Document     Page 12 of 32



 1 achieved, the novelty and difficulty of the tasks undertaken (including applicable time limitations)

 2 and the preclusion from other employment caused by its work in this bankruptcy case. The

 3 Principal will be the source of the Retainer. The source of future payments to the Firm after the

 4 Retainer has been exhausted will be the Debtor’s estate.

 5

 6 C.         Disinterestedness of Danning Gill
 7            As of the date of this motion, to the best of the Debtor’s knowledge and after consideration

 8 of the disclosures in the attached Statement of Disinterestedness, Debtor believes that the Firm and

 9 all of its partners and associates are disinterested persons as that term is defined in 11 U.S.C.

10 § 101(14), and neither the Firm nor any partners or associates of the Firm are connected with the

11 Debtor, its creditors, any other party in interest, its attorneys and accountants, or to this estate, and

12 has no relation to any bankruptcy judge presiding in this district, the Clerk of the Court or any

13 relation to the United States Trustee in this district, or any person employed at the Court or the

14 Office of the United States Trustee, nor does the Firm or its attorneys represent or hold an adverse

15 interest with respect to the Debtor, any creditor, or to this estate. Although it submits that no

16 conflict or adverse intent results therefrom, Danning Gill has disclosed the following: (1) in the

17 past, the Firm has represented secured creditor BOBS, LLC in an unrelated matter and (2) the Firm

18 has represented various bankruptcy trustees, including members of the Firm who serve as

19 bankruptcy trustees.

20            There will be no written employment agreement between the Debtor and Danning Gill,

21 apart from this motion and the order entered upon this motion. If the Court does not approve the

22 Firm’s employment as requested in this motion, the Firm will not be obligated to provide services

23 to the Debtor. The only source of payment of compensation for Danning Gill will be from the

24 Retainer and from the estate, as may be approved and ordered paid by the Court after notice and

25 hearing.

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     1683817.3 27086                                    11
Case 2:21-bk-16674-ER           Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                Desc
                                Main Document     Page 13 of 32



 1                                                      III.
 2                                 DEBTOR-IN-POSSESSION FINANCING
 3 A.         The Principal’s Loan
 4            The Principal has loaned the Debtor $100,000, without interest, for the purposes of

 5 retaining Danning Gill (the “Loan”). The Loan is meant to constitute the Retainer, as defined in

 6 this motion. Under the terms of the Loan, the Principal has caused to be transferred $100,000 to

 7 the Firm’s attorney-client trust account on or about June 1, 2022, to be held in trust until the Court

 8 approves the employment of the Firm. If the Court does not approve of the Firm’s employment,

 9 the Firm will return the Retainer to the Principal.

10            The funds comprising the Loan shall be an unsecured loan from the Principal to the Debtor

11 with zero interest, and shall be treated with the same priority as a chapter 11 expense of

12 administration, except that it shall be subordinated to all other allowed chapter 11 expenses of

13 administration in the Debtor’s case. The Loan does not have any other terms or conditions.

14

15 B.         The Debtor Should be Authorized to Obtain Unsecured Credit from the Principal
16            Pursuant to § 364
17                     Section 364 of the Bankruptcy Code gives bankruptcy courts the power to authorize

18 postpetition financing for chapter 11 debtors in possession. See In re Defender Drug Stores, Inc.,

19 126 B.R. 76, 81 (Bankr. D. Ariz. 1991), aff’d, 145 B.R. 312 (9th Cir. BAP 1992). If not in the

20 ordinary court of business, the court may authorize a debtor to obtain unsecured credit allowable as

21 an administrative expense. In re Regensteiner Printing Co., 122 B.R. 323, 326 (Bankr. N.D. Ill.

22 1990). Allowable administrative expenses include the “actual, necessary costs and expenses of

23 preserving the estate”. Id.; 11 U.S.C. § 503(b)(1)(A).

24                     Here, the Principal has provided the Debtor with an interest-free, unsecured loan.

25 The Loan will satisfy the Firm’s Retainer requirement, allowing the Firm to guide the Debtor

26 through its case. The terms of the Loan are ideal from the Debtor’s perspective. Among other

27 things, the Loan is better than any unsecured commercial loan available in the market, which would

28 require payment of interest and possibly other terms and conditions which would impact the

     1683817.3 27086                                     12
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                 Desc
                               Main Document     Page 14 of 32



 1 Debtor. None of those are present here. The Loan will enable the Debtor to feasibly retain

 2 Danning Gill, a qualified law firm, to guide this case through the bankruptcy process. Further, the

 3 terms of the Loan are such that it would not prejudice other holders of administrative expense

 4 claims or senior creditors. Bankruptcy courts consistently defer to a debtor's business judgment on

 5 most business decisions, including the decision to borrow money, unless such decision is arbitrary

 6 and capricious. See In re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994)

 7 (noting that an interim loan, receivables facility and asset-based facility were approved because

 8 they "reflect[ed] sound and prudent business judgment... [were] reasonable under the circumstances

 9 and in the best interests [of the Debtors] and its creditors"). One court has noted that "[m]ore
10 exacting scrutiny [of a debtors' business decisions] would slow the administration of the Debtors'

11 estate and increase its cost, interfere with the Bankruptcy Code's provision for private control of

12 administration of the estate, and threaten the court's ability to control a case impartially."

13 Richmond Leasing Co. v. Capital Bank. N.A., 762 F.2d 1303, 1311 (5th Cir. 1985). Consistent

14 with this authority and deference, the Court should authorize the Loan pursuant to 11 U.S.C. §

15 364(b).

16                                                     IV.

17                                              CONCLUSION

18            For the foregoing reasons, the Debtor respectfully requests that the Court enter an order (1)

19 authorizing the Debtor to employ Danning Gill as its general bankruptcy counsel, effective as of
20 May 31, 2022, as an administrative expense in this bankruptcy estate, (2) approving the Loan, and

21 (3) for such other and further relief as may be determined just and proper.

22
                1 2022
23 DATED: June ___,                              JINZHENG GROUP (USA) LLC

24

25
                                                 By:
26                                                     Zhao Pu Yang, as Attorney in Fact for
                                                       Jianqing Yang, Managing Member
27

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     1683817.3 27086                                    13
Case 2:21-bk-16674-ER         Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                  Desc
                              Main Document     Page 15 of 32



 1                 STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT
 2                        OF PROFESSIONAL PERSON UNDER F.R.B.P. 2014
 3
          1.      Name, address and telephone number of the professional (“the Professional”)
 4 submitting this Statement:

 5          Danning, Gill, Israel & Krasnoff, LLP
            1901 Avenue of the Stars, Suite 450
 6          Los Angeles, CA 90067-6006
            T: 310-277-0077
 7
            F: 310-277-5735
 8
           Attached hereto as Exhibit "1" and incorporated by reference herein, is a copy of the resume
 9 for the Firm.

10           2.     The services to be rendered by the Professional in this case are (specify): See pages
     7-8 of the motion.
11
           3.      The terms and source of the proposed compensation and reimbursement of the
12 Professional are (specify): See page 10, line 20 through page 11, line 4 in the within motion and
   page 3, line 11 through page 4, line 9 of the notice. See Exhibit “2” for rates.
13
           4.      The nature and terms of retainer (i.e., nonrefundable versus an advance against fees)
14 held by the Professional are (specify): Danning Gill has or will received $100,000 as a retainer
   paid by the Debtor’s principal. Danning Gill will draw down on the retainer in accordance with the
15 Guide to Applications for Retainers, and Professionals and Insider Compensation (“Fee Guide”),
   promulgated by the Office of the United States Trustee, except that the retainer will be maintained
16 in the Firm’s attorney-client trust account rather than a segregated trust account. Danning Gill will
   submit a monthly Professional Fee Statement each month until the retainer is exhausted.
17
           5.      The investigation of disinterestedness made by the Professional prior to submitting
18 this Statement consisted of (specify): Conflicts check

19        6.       The following is a complete description of all of the Professional’s connections with
   the chapter 11 trustee, the debtor, principals of the Debtor, insiders, the Debtor’s creditors, any
20 other party or parties in interest, and their respective attorneys and accountants, or any person
   employed in the Office of the United States Trustee (specify, attaching extra pages as necessary):
21
          (a)      Brad Krasnoff, attorney at Danning Gill, is a member of the panel of trustees for the
22        Central District of California, and the Firm represents him in his capacity as a trustee in
23        other cases unrelated to the Debtor.

24          (b)     Richard K. Diamond, a member of the firm, is a former member of the panel of
            trustees and remains a trustee in a number of cases, and the Firm represents him in his
25          capacity as a trustee in other cases unrelated to the Debtor.
26          (c)     In the past, the Firm has represented secured creditor BOBS, LLC in an unrelated
            matter.
27

28            7.     The Professional is not a creditor, an equity security holder or an insider of the
     debtor, except as follows (specify, attaching extra pages as necessary): None
     1683817.3 27086                                    14
Case 2:21-bk-16674-ER           Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47             Desc
                                Main Document     Page 16 of 32



 1           8.      The Professional is not and was not an investment banker for any outstanding
     security of the Debtor.
 2
           9.       The Professional has not been within three (3) years before the date of the filing of
 3 the petition herein, an investment banker for a security of the Debtor, or an attorney for such an
   investment banker in connection with the offer, sale or issuance of any security of the Debtor.
 4
           10.      The Professional is not and was not, within two (2) years before the date of the
 5 filing of the petition herein, a director, officer or employee of the Debtor or of any investment
   banker for any security of the Debtor.
 6
           11.      The Professional neither holds nor represents any interest materially adverse to the
 7 interest of the estate or of any class of creditors or equity security holders, by reason of any direct
   or indirect relationship to, connection with, or interest in, the Debtor or any investment banker for
 8 any security of the Debtor, or for any other reason, except as follows (specify, attaching extra pages
   as necessary): None
 9
           12.      Name, address and telephone number of the person signing this Statement on behalf
10 of the Professional and the relationship of such person to the Professional (specify):

11            Zev Shechtman, Partner
              Danning, Gill, Israel & Krasnoff, LLP
12            1901 Avenue of the Stars, Suite 450
              Los Angeles, CA 90067-6006
13
              T: 310-277-0077
14            F: 310-277-5735

15         13.    The Professional is not a relative or employee of the United States Trustee or a
     Bankruptcy Judge, except as follows (specify, attaching extra pages as necessary):
16
              None
17
              14.      Total number of attached pages of supporting documentation: 8
18

19          15.    After conducting or supervising the investigation described in Paragraph 5 above, I
   declare under penalty of perjury under the laws of the United States of America, that the foregoing
20 is true and correct except that I declare that Paragraphs 6 through 11 are stated on information and
   belief.
21
            Executed on June 1, 2022, at Los Angeles, California.
22

23
                                                           /s/ Zev Shechtman
24
                                                      ZEV SHECHTMAN
25

26

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Case 2:21-bk-16674-ER           Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                   Desc
                                Main Document     Page 17 of 32



 1                                  DECLARATION OF ZHAO PU YANG
 2
              I, Zhao Pu Yang, declare as follows:
 3
              1.       I am the Attorney in Fact for Jianqing Yang, Managing Member of Jinzheng Group
 4
     (USA) LLC. I am also the son of Jianqing Yang.
 5
              2.       Unless stated otherwise, all facts in this declaration are based upon my personal
 6
     knowledge, my discussions with Debtor’s former management, Debtor’s counsel or my personal
 7
     advisors or counsel, my review of documents and information concerning the Debtor’s business,
 8
     and/or my personal opinion based upon my experience and general knowledge about the Debtor.
 9
              3.       I am over the age of 18 and am authorized to submit this declaration on behalf of the
10
     Debtor. If called to testify, I would testify to the matters set forth in this declaration.
11
              4.       I submit my declaration in support of the Debtor’s (1) Application of Debtor and
12
     Debtor-In-Possession to Employ Danning, Gill, Israel & Krasnoff, LLP as its General Bankruptcy
13
     Counsel; Statement of Disinterestedness; and (2) Motion To Approve Debtor-In-Possession
14
     Financing (the “Motion”).
15
              5.       I, on behalf of the Debtor, have executed a substitution of counsel for Danning, Gill,
16
     Israel & Krasnoff, LLP (“Danning Gill” or the “Firm” ) to enter the case as the Debtor’s general
17
     bankruptcy counsel.
18
              6.       I have loaned the Debtor $100,000, without interest, for the purposes of retaining
19
     Danning Gill as its general bankruptcy counsel (the “Loan”). I have agreed that the Loan is
20
     interest-free and will be treated with the same priority as a chapter 11 expense of administration,
21
     except that it will be subordinated to all other allowed chapter 11 expenses of administration.
22
              7.       Based on my business judgment, I believe that the Loan is appropriate under the
23
     circumstances. I do not believe that any commercial loan is available to the Debtor on better terms
24
     than no interest and no collateral, and with subordination to other allowed expenses of
25
     administration.
26
              I declare under penalty of perjury under the law of the United States of America that the
27
              foregoing is true and correct.
28

     1683817.3 27086                                     16
Case 2:21-bk-16674-ER          Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47    Desc
                               Main Document     Page 18 of 32



 1                                 1 2022, at
                  Executed on June _,           ________________________________
                                                 Glendale, California.
 2

 3
                                                By:
 4                                                    ZHAO PU YANG

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Case 2:21-bk-16674-ER   Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47   Desc
                        Main Document     Page 19 of 32




                               EXHIBIT 1
    Case 2:21-bk-16674-ER            Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                      Desc
                                     Main Document     Page 20 of 32



WWW .D ANNING G ILL . COM                                                           1901 A VENUE OF THE STARS , S UITE 450
                                                                                    L OS A NGELES , C ALIFORNIA 90067-6006
                                                                                                     (310) 277-0077 – T EL
                                                                                                     (310) 277-5735 – F AX




                                                 FIRM RESUME

                        Danning, Gill, Israel & Krasnoff, LLP (the “Firm”) is a California limited
               liability partnership composed of several professional corporations, located in Los
               Angeles, California. The Firm has been engaged in the practice of law with an
               emphasis on debtor-creditor relations, bankruptcy and reorganization matters
               since 1953. Since 1981, its principal office has been located in Century City and
               is presently at 1901 Avenue of the Stars, Suite 450, Los Angeles, California
               90067-6006.

                        Within its area of debtor-creditor specialization, the Firm operates in three
               areas, focusing on (1) creditors’ rights and debtors’ rights, including the
               representation of lessors, lessees, creditors and creditors’ committees, the
               prosecution on creditors’ behalf of relief from stay actions, actions to determine
               non-dischargeability of debts under the Bankruptcy Code, and matters involving
               executory contracts and leases, out of court workouts, reorganizations and the
               like, (2) debtors’ estates, including representation of large Chapter 11 debtor
               estates, and (3) representation of chapter 7 and chapter 11 Trustees, State Court
               Receivers, assignees for the benefit of creditors and disbursing agents under
               chapter 11 plans or in out of court workouts. Members of the Firm are qualified
               to and do serve as State Court appointed Receivers and as chapter 7 and operating
               chapter 11 Trustees in the United States Bankruptcy Court for the Central District
               of California and in the Superior Courts of the State of California.

                       The Firm has represented numerous banks, title insurance companies, and
               other financial institutions, as well as representing corporations, partnerships,
               professional corporations, limited liability companies and individuals in work-
               outs, reorganizations, and liquidations of real estate (hotels, apartment buildings,
               office buildings, shopping centers, residential property and undeveloped
               property), construction, wholesale, retail, food service, and law firms, among
               others. Among other clients, the Firm has represented the City of Los Angeles,
               San Diego County Airport Authority, San Francisco Airport Authority, Time-
               Warner Entertainment Co. LP and its divisions and affiliates, including but not
               limited to Warner Bros. and Warner Home Video, and Turner Broadcasting
               System, Inc. and its divisions, affiliates and subsidiaries, in bankruptcy-related
               matters. It has in the past represented several professional (medical and legal)
               firms in creditor workouts and reorganizations.

                      The Firm has represented many debtors in chapter 11 reorganization,
               including MMPI and its affiliates; it represented State Street Bank and Trust
               Company as a member of the Official Committee of Creditors Holding Unsecured


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                                                                  EXHIBIT 1                                       18
  Case 2:21-bk-16674-ER        Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                Desc
                               Main Document     Page 21 of 32
DANNING, GILL, ISRAEL & KRASNOFF, LLP




         Claims in the Orange County Chapter 9 case; and it represented the City of Los
         Angeles in the Eastern Airlines, Pan American World Airways, Continental
         Airlines, Trans World Airlines (both cases), America West Airlines and Damson
         Oil Co. chapter 11 cases, which cases were pending in various bankruptcy courts
         across the United States, and San Francisco and San Diego airports in various
         bankruptcy related assignments. The Firm has also represented the Creditors’
         Committees in the Maxicare, Watts Health and numerous other health care related
         reorganizations. Attorneys at the firm have served as and represented bankruptcy
         or reorganization trustee or other fiduciaries in the matters of Oasis Petroleum,
         Producers Sales Organization and Financial Corporation of America, the parent of
         American Savings and Loan, Namvar, Medpartners, APX and Empire Land, each
         multi-million dollar bankruptcy court operations and/or liquidations. In addition,
         individual attorneys within the Firm have various areas of expertise, including
         qualification to serve as reorganization and liquidation counsel and administrators
         in all California bankruptcy, federal, district and state courts and out-of-court
         workouts; appellate matters; trustees’ avoiding powers; and landlord/tenant
         relations with particular reference to those rights in bankruptcy.

                The Firm has an on-going commitment to the advancement of the
         educational and professional skills of its members and is active in bar
         organizations involved in the bankruptcy and reorganization field, including the
         Financial Lawyers Conference, the Insolvency Committee of the Business Law
         Section of the California State Bar and the Los Angeles Bankruptcy Forum.

                Biographical data with respect to each partner, of counsel, associate, staff
         attorney, fiduciary and paralegal assistant is contained in the following section.


                                   ATTORNEY BIOGRAPHIES
        1.     Partners:

                Eric P. Israel, a Professional Corporation. Mr. Israel was admitted to the
         California bar in 1987. His educational background is as follows: He holds
         degrees from the University of California at Los Angeles (B.A., 1981) and
         Southwestern University (J.D., with honors, 1987). Member, Southwestern
         University Law Review. He is a member of the Financial Lawyers Conference,
         The California (Board Member), Los Angeles and Orange County Bankruptcy
         Forums, and the Los Angeles County (Commercial Law and Bankruptcy Section,
         Bankruptcy Committee), Los Angeles County Bar and American Bar
         Associations. He has served as an editor of the California Bankruptcy Journal
         since 1998 and was special issue editor for the Special Trustee Issue (26 Cal.
         Bankr. J. vol. 26 (2002)); Mr. Israel currently serves as co-managing editor of the
         California Bankruptcy Journal. He was the Chairman of the Commercial Law
         and Bankruptcy Section of the L.A. County Bar Association (2014-2015) and
         Chairman of its Bankruptcy Committee (2013-2015) (formerly its Vice-Chair,



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  Case 2:21-bk-16674-ER       Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                Desc
                              Main Document     Page 22 of 32
DANNING, GILL, ISRAEL & KRASNOFF, LLP




         Programs Chair and Secretary). He is a certified mediator through the Straus
         Institute for Dispute Resolution of the Pepperdine University School of Law and
         has served on the panel of mediators for the Bankruptcy Courts for the Central
         District of California from the inception of the mediation program in 1995 to the
         present. He has lectured and written on bankruptcy related matters. He authored
         the articles: (1) Debtors Beware: Exemption Planning in California Now Subject
         to Challenge, 32 Cal. Bankr. J. 317 (2021); (2) “Hints on Making the Most of
         Your Estate’s Assets: Often Overlooked Methods to Maximize Equity”, 26 Cal.
         Bankr. J. 199 (2002); and (3) “Of Racketeers, RICO, the Enterprise-Separateness
         Issue and Chicken Little: What’s Really Falling?” 17 Sw. L. Rev. 565 (1988).

                John N. Tedford, IV, a Professional Corporation. Mr. Tedford was
         admitted to the California Bar in 1999. His educational background is as follows:
         University of Southern California (B.S., 1996); University of Southern California
         School of Law (J.D., 1999). Judicial Extern to the Honorable Kathleen P. March,
         Fall 1998 and Spring, 1999. Relief Law Clerk to the Honorable Alan M. Ahart,
         Ellen Carroll and Kathleen P. March, 1999-2001. Law Clerk to the Honorable
         Alan M. Ahart, 2001-2002. He is admitted to practice in the Central District of
         California. He is a member of the California State Bar Association, Financial
         Lawyers Conference and the Los Angeles Bankruptcy Forum.

                 Uzzi O. Raanan, a Professional Corporation. Mr. Raanan was admitted to
         the California State Bar in 1992 and to the Washington, D. C. Bar in 1995. His
         educational background is as follows: San Diego State University (B.A., 1988);
         University of the Pacific, McGeorge School of Law (J.D., 1992). He is admitted
         to practice in the Central and Eastern Districts of California, and in the Ninth
         Circuit Court of Appeals. He serves on the California Lawyers Association’s
         Board of Representatives, past chair of the Business Law Section of the California
         Lawyers Association, Vice-Chair of Marketing & Outreach for the Business Law
         Section of the California State Bar, past Co-Chair of the Insolvency Law
         Committee of the California State Bar, past President of the Beverly Hills Bar
         Foundation, and a member of the Beverly Hills Bar Association Board of
         Governors, Financial Lawyers Conference and the Los Angeles Bankruptcy
         Forum. Mr. Raanan represents creditors and debtors, creditor committees, as well
         as court-appointed receivers and bankruptcy trustees, with regard to insolvencies,
         bankruptcy pre-planning and filing, state and federal court litigation, and
         Commercial Law disputes. He also specializes in handling appeals and a myriad
         of other issues arising in bankruptcy. Mr. Raanan is fluent in Hebrew.

                 Brad D. Krasnoff, a Professional Corporation. Mr. Krasnoff was admitted
         to the California Bar in 1986. His educational background is as follows:
         University of California at Los Angeles (B.A., 1982, Magna Cum Laude; J.D.,
         1986, Phi Beta Kappa). Extern, United States Attorney’s Office, Civil Division,
         1985. He is a member of the California State Bar Association, the Financial
         Lawyers Conference, the Los Angeles Bankruptcy Forum and the National




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  Case 2:21-bk-16674-ER        Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                 Desc
                               Main Document     Page 23 of 32
DANNING, GILL, ISRAEL & KRASNOFF, LLP




         Association of Bankruptcy Trustees. Since 1997, he has served as a Chapter 7
         Panel Trustee appointed by the United States Trustee for the Central District of
         California. He authored the article “Case Control? Electing a Chapter 7 Trustee:
         The Trustee’s Viewpoint”, California Bankruptcy Journal, Vol. 26 (2002) 258.
         Mr. Krasnoff co-authored “Based on What? Trustee Compensation Scenarios
         under Section 326 of the Bankruptcy Code,” 35 Cal. Bankr. J. 339 (2021).

                 Zev Shechtman, a Professional Corporation. Mr. Shechtman was admitted
         to the California Bar in 2009. He is admitted to practice in the Central District of
         California. His educational background is as follows: University of California at
         Santa Cruz (B.A., 2003); New York University (M.A., 2006); University of
         Southern California School of Law (J.D., 2009). While a law student at the
         University of Southern California, Mr. Shechtman served as Managing Editor of
         the Southern California Review of Law & Social Justice. Mr. Shechtman served
         as an extern for the Honorable Thomas B. Donovan of the United States
         Bankruptcy Court for the Central District of California in the Summer of 2007.
         Mr. Shechtman serves as 2021-2022 President of the Los Angeles Bankruptcy
         Forum, where he helped found the Diversity, Equity & Inclusion Committee for
         the organization. Mr. Shechtman is a former chair of the Bankruptcy Section of
         the Beverly Hills Bar Association. Mr. Shechtman is an editorial board member of
         the California Bankruptcy Journal and the California Lawyers Association’s
         Business Law News.

        2.      Of Counsel:

                 Richard K. Diamond, a Professional Corporation. Mr. Diamond was
         admitted to the California Bar in 1976. His educational background is as follows:
         University of California, Berkeley (A.B. 1973); University of California, Los
         Angeles (J.D. 1976); Phi Beta Kappa; Order of the Coif. He is a Fellow of the
         American College of Bankruptcy. Mr. Diamond is a member of the Business
         Law Section of the State Bar of California and served as the chair of its
         Debtor/Creditor Relations and Bankruptcy Committee (1990 and 1991). He is a
         past President of the Los Angeles Bankruptcy Forum. He serves as a Chapter 7
         Panel Trustee appointed by the United States Trustee for the Central District of
         California. Mr. Diamond has specialized in reorganization and insolvency
         matters during the entire period of his practice.

                George E. Schulman, a Professional Corporation. Mr. Schulman was
         admitted to the California Bar in 1975. He was admitted to the New York Bar in
         1972. His educational experience is as follows: Queens College (B.A. 1968);
         New York University School of Law (J.D. 1971). He is a member of the Los
         Angeles County, Beverly Hills, American and New York Bar Associations, and a
         member of the State Bar of California. He is First Vice-Chair of the Antitrust and
         Trade Regulation Section of the Los Angeles County Bar Association. He is
         admitted to practice in all courts in California and New York, in the United States




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  Case 2:21-bk-16674-ER        Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                Desc
                               Main Document     Page 24 of 32
DANNING, GILL, ISRAEL & KRASNOFF, LLP




         District Courts for the Central, Northern, Southern and Eastern Districts of
         California, the United States Court of Appeals for the Second, Ninth and Tenth
         Circuits, and the United States Supreme Court. He specializes in litigation, with a
         special emphasis on bankruptcy, insolvency and receivership. He has served as a
         Federal Court receiver and has been appointed as a Chapter 11 and Chapter 7
         trustee by the United States Trustee.

        3.     Associates:

                Aaron E. de Leest was admitted to the California Bar in 2001. His
         educational background is as follows: Biola University (B.A., 1998);
         Southwestern University School of Law (J.D., 2001). Judicial Extern to The
         Honorable Barry Russell, 2000. He is admitted to practice in the United States
         Court of Appeals for the Ninth Circuit, and the United States District Court,
         Northern and Central Districts of California. He is a member of the California
         State Bar Association, Los Angeles County Bar Association, Financial Lawyers
         Conference, Los Angeles Bankruptcy Forum, and the Beverly Hills Bar
         Association.

                 Michael G. D’Alba was admitted to the New Jersey State Bar in 2005 and
         to the California State Bar in 2009. His educational background is as follows:
         Princeton University (A.B., 1998); Rutgers University School of Law (J.D.,
         2005). He is admitted to practice in the Central District of California. He is a
         member of the California State Bar Association, Financial Lawyers Conference
         and the Los Angeles Bankruptcy Forum. Mr. D’Alba co-authored “Based on
         What? Trustee Compensation Scenarios under Section 326 of the Bankruptcy
         Code,” 35 Cal. Bankr. J. 339 (2021).

                 Alphamorlai “Mo” Kebeh is a 2020 graduate of the University of
         California, Los Angeles, School of Law, where he served on the executive board
         of the Black Law Students Association and as a mentor for the school’s Law
         Fellows Program. Prior to law school, Mo received his bachelor’s degree in Legal
         Studies and Political Science from the University of Massachusetts, Amherst. At
         the firm, Mo assists with the representation of debtors, creditors, and trustees in
         chapter 7 and chapter 11 cases.

                Danielle R. Gabai is a 2021 graduate of USC Gould School of Law, where
         she received her Business Law Certificate and served as President of the Jewish
         Law Student Association. Prior to law school, Danielle received her B.A. in
         Business Administration, minor in Finance from the Interdisciplinary Center
         Herzliya (IDC) in Israel. At the Firm, Danielle assists with the representation of
         debtors, creditors, and trustees in chapter 7 and chapter 11 cases.




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  Case 2:21-bk-16674-ER       Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47               Desc
                              Main Document     Page 25 of 32
DANNING, GILL, ISRAEL & KRASNOFF, LLP




        4.     Paralegals/Legal Assistants:

                Aracelli P. Panta is a bankruptcy paralegal who received her Bachelor of
         Arts degree from the University of California at Los Angeles in 1992 and her
         paralegal certificate from the University of California at Los Angeles’ Extension
         Program in 1994.

                 Danielle Krasnoff is a Bankruptcy Trustee Administrator who joined the
         Firm in 2015. Ms. Krasnoff’s experience has been in the legal and accounting
         fields for more than 30 years, including positions in Human Resources and
         Marketing.




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Case 2:21-bk-16674-ER   Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47   Desc
                        Main Document     Page 26 of 32




                               EXHIBIT 2
Case 2:21-bk-16674-ER    Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47   Desc
                         Main Document     Page 27 of 32




                          YEAR 2022 SCHEDULE OF
                         RATES FOR PROFESSIONALS


                                                              HOURLY
              INITIALS          ATTORNEY NAME                  RATE

                  RKD            Richard K. Diamond            750.00
                  EPI               Eric P. Israel             750.00
                  BDK             Brad D. Krasnoff             750.00
                  GES            George E. Schulman            725.00
                  UOR              Uzzi O. Raanan              695.00
                  JNT            John N. Tedford, IV           695.00
                   ZS              Zev Shechtman               595.00


                  AED             Aaron E. de Leest            650.00
                  MGD            Michael G. D’Alba             595.00
                  ALK           Alphamorlai L. Kebeh           350.00
                  DRG             Danielle R. Gabai            335.00


            PARALEGALS/LEGAL ASSISTANTS/TRUSTEE ADMINISTRATORS

                   SP              Aracelli Panta               275.00
                  DTK             Danielle Krasnoff             250.00




                                                                 EXHIBIT 2
1683769.1 25136     DANNING, GILL, ISRAEL & KRASNOFF, LLP
         1901 AVENUE OF THE STARS, SUITE 450, LOS ANGELES, CA 90067-6006           24
Case 2:21-bk-16674-ER                     Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                                             Desc
                                          Main Document     Page 28 of 32




                          2022 RATES FOR REIMBURSEMENT OF EXPENSES


Reprographic Expense (Photocopy, Scan, Print) ........................................................ $ .20 per page

Facsimile - Incoming .................................................................................................. $ .20 per page

Facsimile - Outgoing.................................................................................................. $1.00 per page

Mileage ........................................................IRS Rate for Business Use (currently 0.58.5 per mile)

Telephone ........................................................................................................................Actual Cost

Postage ............................................................................................................................Actual Cost

Messengers ......................................................................................................................Actual Cost

Overnight Mail ................................................................................................................Actual Cost

On-line Computer Research ............................................................................................Actual Cost

Filing Fees .......................................................................................................................Actual Cost

Deposition or Witness Fees ............................................................................................Actual Cost

Parking ............................................................................................................................Actual Cost




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          1901 AVENUE OF THE STARS, SUITE 450, LOS ANGELES, CA 90067-6006




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      Case 2:21-bk-16674-ER                   Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                                       Desc
                                              Main Document     Page 29 of 32



                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): NOTICE OF APPLICATION AND MOTION;
APPLICATION OF DEBTOR AND DEBTOR-IN-POSSESSION TO EMPLOY DANNING, GILL, ISRAEL &
KRASNOFF, LLP AS ITS GENERAL BANKRUPTCY COUNSEL; MOTION TO APPROVE DEBTOR-IN-POSSESSION
FINANCING; AND STATEMENT OF DISINTERESTEDNESS will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
June 1, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On June 1, 2022 , I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  June 1, 2022                            Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
     Case 2:21-bk-16674-ER                   Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                                       Desc
                                             Main Document     Page 30 of 32


                                            ADDITIONAL SERVICE INFORMATION (if needed):


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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
     Case 2:21-bk-16674-ER                   Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                                       Desc
                                             Main Document     Page 31 of 32




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Peter J Ryan on behalf of Defendant Thomas L. Testa                            ryan@floresryan.com,
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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
     Case 2:21-bk-16674-ER                   Doc 239 Filed 06/01/22 Entered 06/01/22 16:56:47                                       Desc
                                             Main Document     Page 32 of 32



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                                COMMITTEE OF CREDITORS HOLDING UNSECURED CLAIMS

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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
